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            EXHIBIT A
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                                        Baylor's Produced Logged   Baylor's Explanation Column
ULEX Determination       # of Docs          Column Filter #'s         Post / Pre June 15, 2016
                                     18     NA System Gen File     NA
                                                                   1,308     post 6.15.16
                                     3,326 Newly Logged            2,018     pre 6.15.16
                                                                   1,547     post 6.15.16
No Comparison File
                           8,257     2,793 Newly Produced          1,246     pre 6.15.16
    Provided
                                     1,126 Non Responsive          600      post 6.15.16
                                     250 Previously Logged         250      pre 6.15.16
                                     743 Previously Produced       743      pre 6.15.16
                                     1     Withheld by Agreement   NA
                                     50    Non Responsive          50       post 6.15.16
                                     1     Newly Logged            1        pre 6.15.16
     Variance              3,872     3,300 Previously Logged       3,300 pre 6.15.16
                                     511 Previously Produced       511      pre 6.15.16
                                     10 Withheld by Agreement      NA

                                      Responsive Pre 6.15.16 not
                                      matched / not produced =
                                      (1246+743+511) 2,500


                                      Responsive Pre 6.15.16 not
                                      matched / not logged =
                                      (2018+250+1+3300) 5569
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                                          Baylor's Produced Logged Column
  ULEX Determination          # of Docs                Filter #'s

                                          18     NA System Gen File

                                          3,326 Newly Logged

                                          2,793 Newly Produced
No Comparison File Provided     8,257     1,126 Non Responsive

                                          250    Previously Logged

                                          743    Previously Produced

                                          1      Withheld by Agreement

                                          50     Non Responsive

                                          1      Newly Logged
         Variance               3,872     3,300 Previously Logged

                                          511   Previously Produced

                                          10    Withheld by Agreement
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                                                              Responsive Pre 6.15.16 not matched /
                                                              not produced = (1246+743+511) 2,500


                                                              Responsive Pre 6.15.16 not matched /
                                                              not logged = (2018+250+1+3300) 5569
